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IN THE UNITED sTATES DISTRICT coURT FI|.ED BY‘__ul(:"_'.“._ D.c
FOR THE wEsTERN DISTRICT oF TENNESSEE f
wEsTERN DIVISION 05 SEP ..| PH 5:. m
UNITED sTATEs oF AMERICA, CU_:RW\§AS~.M+%
WD€@:'»

VS. NO. 04-20409-Ma

DEMARCUS ROGERS,

Defendant.

 

ORDER GRANTING MOTION TO CONTINUE SUPPRESSION HEARING

 

Before the court is the government's September 1, 2005,
motion to reset the hearing on defendant’s motion to suppress
which Was set on September 2, 2005. Counsel for the defendant

does not oppose the resetting. For good cause shown, the motion

is granted. The hearing on the motion to suppress is reset to
Thursday, October 13, 2005, at 10:00 a.m.
It is so ORDERED this LSL' day of Septem:;:? 2005.
SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

This document entered on the docket sh in §mpliance
with R\lle 55 and/or 321b] FHCrP on ____B§_QS' '

 

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Honorable Samuel Mays
US DISTRICT COURT

